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                        TESLA, INC.
                 10
                 11                                UNITED STATES DISTRICT COURT
                 12                               NORTHERN DISTRICT OF CALIFORNIA
                 13
                 14     HENRY YEH on behalf of himself, all others         Case No. 3:23-cv-01704-JCS
                        similarly situated, and the general public,
                 15                                                       DECLARATION OF DAVID L.
                                             Plaintiff,                   SCHRADER, ESQ. IN SUPPORT OF
                 16                                                       DEFENDANT TESLA, INC.’S
                                       vs.                                MOTION TO DISMISS PLAINTIFF’S
                 17                                                       COMPLAINT PURSUANT TO RULE
                        TESLA, INC.,                                      12(B)(1), RULE 12(B)(6), AND RULE
                 18                                                       9(B)
                                             Defendant.
                 19                                                        Hearing Date:      July 7, 2023
                                                                           Time:              9:30 a.m.
                 20                                                        Ctrm:              F, 15th Floor
                                                                           Judge:             Hon. Joseph C. Spero
                 21
                                                                           Compl. Filed:      April 7, 2023
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                                 DECLARATION OF DAVID SCHRADER ISO DEFENDANT’S MOTION TO DISMISS
                         Case 3:23-cv-01704-JCS Document 23-1 Filed 06/02/23 Page 2 of 11



                    1                            DECLARATION OF DAVID L. SCHRADER

                    2          I, David L. Schrader, hereby declare pursuant to 28 U.S.C. § 1746:

                    3          1.      I am an attorney at law, duly licensed to practice in the State of California and before

                    4   this Court, and am a partner with Morgan, Lewis & Bockius LLP, attorneys of record for Defendant

                    5   Tesla, Inc. (“Tesla”) in this action. I make this declaration in support of Tesla’s Motion To Dismiss

                    6   Plaintiff’s Complaint pursuant to Rule 12(b)(1), Rule 12(b)(6), and Rule 9(b).

                    7          2.      Attached as Exhibit A is a true and accurate copy of the April 6, 2023 news article

                    8   published by Reuters, captioned “Special Report - Tesla workers shared sensitive images recorded

                    9   by customer cars.” The article is available online at https://www.reuters.com/article/tesla-privacy-
                 10     cameras-idCAKBN2W310G, and was last accessed on June 2, 2023.

                 11            I declare under penalty of perjury that the foregoing is true and correct. Executed this 2nd

                 12     day of June 2023, in Los Angeles, California.

                 13                                                   /s/ David L. Schrader
                 14                                                   David L. Schrader

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MORGAN, LEWIS &
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 ATTORNEYS AT LAW                                                         1
   LOS ANGELES
                                 DECLARATION OF DAVID SCHRADER ISO OF DEFENDANT’S MOTION TO DISMISS
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           EXHIBIT A
6/2/23, 8:46 PM              Case 3:23-cv-01704-JCS          Document
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                     Technology


                  Special Report: Tesla workers shared sensitive
                  images recorded by customer cars
                  By Steve Stecklow     , Waylon Cunningham           and Hyunjoo Jin
                  April 6, 2023 5:47 PM EDT · Updated 2 months ago




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                       Summary          Companies


                         Private camera recordings, captured by cars, were shared in chat rooms: ex-workers

                         Circulated clips included one of child being hit by car: ex-employees

                         Tesla says recordings made by vehicle cameras ‘remain anonymous’

                         One video showed submersible vehicle from James Bond film, owned by Elon Musk




                  LONDON/SAN FRANCISCO, April 6 (Reuters) - Tesla Inc assures its millions of electric car owners
                  that their privacy “is and will always be enormously important to us.” The cameras it builds into
                  vehicles to assist driving, it notes on its website, are “designed from the ground up to protect your
                  privacy.”


                  But between 2019 and 2022, groups of Tesla employees privately shared via an internal messaging
                  system sometimes highly invasive videos and images recorded by customers’ car cameras, according
                  to interviews by Reuters with nine former employees.


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                  Some of the recordings caught Tesla customers in embarrassing situations. One ex-employee
                  described a video of a man approaching a vehicle completely naked.


                  Also shared: crashes and road-rage incidents. One crash video in 2021 showed a Tesla driving at
                  high speed in a residential area hitting a child riding a bike, according to another ex-employee. The
                  child flew in one direction, the bike in another. The video spread around a Tesla office in San Mateo,
                  California, via private one-on-one chats, “like wildfire,” the ex-employee said.


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                  Other images were more mundane, such as pictures of dogs and funny road signs that employees
                  made into memes by embellishing them with amusing captions or commentary, before posting
                  them in private group chats. While some postings were only shared between two employees, others
                  could be seen by scores of them, according to several ex-employees.


                  Tesla states in its online “Customer Privacy Notice” that its “camera recordings remain anonymous
                  and are not linked to you or your vehicle.” But seven former employees told Reuters the computer
                  program they used at work could show the location of recordings – which potentially could reveal
                  where a Tesla owner lived.


                  One ex-employee also said that some recordings appeared to have been made when cars were
                  parked and turned off. Several years ago, Tesla would receive video recordings from its vehicles even
                  when they were off, if owners gave consent. It has since stopped doing so.
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                  “We could see inside people's garages and their private properties,” said another former employee.
                  “Let's say that a Tesla customer had something in their garage that was distinctive, you know,
                  people would post those kinds of things.”


                  Tesla didn't respond to detailed questions sent to the company for this report.


                  About three years ago, some employees stumbled upon and shared a video of a unique submersible
                  vehicle parked inside a garage, according to two people who viewed it. Nicknamed “Wet Nellie,” the
                  white Lotus Esprit sub had been featured in the 1977 James Bond film, “The Spy Who Loved Me.”


                  The vehicle’s owner: Tesla Chief Executive Elon Musk, who had bought it for about $968,000 at an
                  auction in 2013. It is not clear whether Musk was aware of the video or that it had been shared.




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                  The submersible Lotus vehicle nicknamed "Wet Nellie" that featured in the 1977 James Bond film, "The Spy Who Loved Me,” and which Tesla chief executive Elon Musk
                  purchased in 2013. Tim Scott ©2013 Courtesy of RM Sotheby's




                  Musk didn’t respond to a request for comment.


                  To report this story, Reuters contacted more than 300 former Tesla employees who had worked at
                  the company over the past nine years and were involved in developing its self-driving system. More
                  than a dozen agreed to answer questions, all speaking on condition of anonymity.


                  Reuters wasn’t able to obtain any of the shared videos or images, which ex-employees said they
                  hadn’t kept. The news agency also wasn’t able to determine if the practice of sharing recordings,
                  which occurred within some parts of Tesla as recently as last year, continues today or how
                  widespread it was. Some former employees contacted said the only sharing they observed was for
                  legitimate work purposes, such as seeking assistance from colleagues or supervisors.


                  LABELING PEDESTRIANS AND STREET SIGNS

                  The sharing of sensitive videos illustrates one of the less-noted features of artificial intelligence
                  systems: They often require armies of human beings to help train machines to learn automated
                  tasks such as driving.


                  Since about 2016, Tesla has employed hundreds of people in Africa and later the United States to
                  label images to help its cars learn how to recognize pedestrians, street signs, construction vehicles,
                  garage doors and other objects encountered on the road or at customers’ houses. To accomplish
                  that, data labelers were given access to thousands of videos or images recorded by car cameras that
                  they would view and identify objects.
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                  FILE PHOTO: The forward-facing camera of a Tesla Model S containing Autopilot features is pointed out during a 2015 Tesla event in Palo Alto. REUTERS/Beck
                  Diefenbach




                  Tesla increasingly has been automating the process, and shut down a data-labeling hub last year in
                  San Mateo, California. But it continues to employ hundreds of data labelers in Buffalo, New York. In
                  February, Tesla said the staff there had grown 54% over the previous six months to 675.


                  Two ex-employees said they weren’t bothered by the sharing of images, saying that customers had
                  given their consent or that people long ago had given up any reasonable expectation of keeping
                  personal data private. Three others, however, said they were troubled by it.


                  “It was a breach of privacy, to be honest. And I always joked that I would never buy a Tesla after
                  seeing how they treated some of these people,” said one former employee.


                  Another said: “I’m bothered by it because the people who buy the car, I don't think they know that
                  their privacy is, like, not respected … We could see them doing laundry and really intimate things.
                  We could see their kids.”


                  One former employee saw nothing wrong with sharing images, but described a function that
                  allowed data labelers to view the location of recordings on Google Maps as a “massive invasion of
                  privacy.”


                  David Choffnes, executive director of the Cybersecurity and Privacy Institute at Northeastern
                  University in Boston, called sharing of sensitive videos and images by Tesla employees “morally
                  reprehensible.”


                  “Any normal human being would be appalled by this,” he said. He noted that circulating sensitive
                  and personal content could be construed as a violation of Tesla’s own privacy policy — potentially
                  resulting in intervention by the U.S. Federal Trade Commission, which enforces federal laws relating
                  to consumers’ privacy.


                  A spokesperson for the FTC said it doesn’t comment on individual companies or their conduct.


                  To develop self-driving car technology, Tesla collects a vast trove of data from its global fleet of
                  several million vehicles. The company requires car owners to grant permission on the cars’
                  touchscreens before Tesla collects their vehicles’ data. “Your Data Belongs to You,” states Tesla’s
                  website.
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                  FILE PHOTO: A Tesla Model 3 vehicle is shown using the Autopilot Full Self Driving Beta software (FSD) while navigating a city road in Encinitas, California, February
                  2023. REUTERS/Mike Blake



                  In its Customer Privacy Notice, Tesla explains that if a customer agrees to share data, “your vehicle
                  may collect the data and make it available to Tesla for analysis. This analysis helps Tesla improve its
                  products, features, and diagnose problems quicker.” It also states that the data may include “short
                  video clips or images,” but isn’t linked to a customer’s account or vehicle identification number, “and
                  does not identify you personally.”


                  Carlo Piltz, a data privacy lawyer in Germany, told Reuters it would be difficult to find a legal
                  justification under Europe’s data protection and privacy law for vehicle recordings to be circulated
                  internally when it has “nothing to do with the provision of a safe or secure car or the functionality” of
                  Tesla's self-driving system.


                  In recent years, Tesla’s car-camera system has drawn controversy. In China, some government
                  compounds and residential neighborhoods have banned Teslas because of concerns about its
                  cameras. In response, Musk said in a virtual talk at a Chinese forum in 2021: “If Tesla used cars to
                  spy in China or anywhere, we will get shut down.”


                  Elsewhere, regulators have scrutinized the Tesla system over potential privacy violations. But the
                  privacy cases have tended to focus not on the rights of Tesla owners but of passers-by unaware that
                  they might be being recorded by parked Tesla vehicles.


                  In February, the Dutch Data Protection Authority, or DPA, said it had concluded an investigation of
                  Tesla over possible privacy violations regarding “Sentry Mode,” a feature designed to record any
                  suspicious activity when a car is parked and alert the owner.




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                  Reuters Image



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                  “People who walked by these vehicles were filmed without knowing it. And the owners of the Teslas
                  could go back and look at these images,” said DPA board member Katja Mur in a statement. “If a
                  person parked one of these vehicles in front of someone’s window, they could spy inside and see
                  everything the other person was doing. That is a serious violation of privacy.”


                  The watchdog determined it wasn’t Tesla, but the vehicles’ owners, who were legally responsible for
                  their cars’ recordings. It said it decided not to fine the company after Tesla said it had made several
                  changes to Sentry Mode, including having a vehicle’s headlights pulse to inform passers-by that they
                  may be being recorded.


                  A DPA spokesperson declined to comment on Reuters findings, but said in an email: “Personal data
                  must be used for a specific purpose, and sensitive personal data must be protected.”


                  REPLACING HUMAN DRIVERS


                  Tesla calls its automated driving system Autopilot. Introduced in 2015, the system included such
                  advanced features as allowing drivers to change lanes by tapping a turn signal and parallel parking
                  on command. To make the system work, Tesla initially installed sonar sensors, radar and a single
                  front-facing camera at the top of the windshield. A subsequent version, introduced in 2016, included
                  eight cameras all around the car to collect more data and offer more capabilities.


                  Musk’s future vision is eventually to offer a “Full Self-Driving” mode that would replace a human
                  driver. Tesla began rolling out an experimental version of that mode in October 2020. Although it
                  requires drivers to keep their hands on the wheel, it currently offers such features as the ability to
                  slow a car down automatically when it approaches stop signs or traffic lights.


                  Tesla's Autopilot system




                                                                                                                                                                                            Feedback




                  This excerpt from the owner’s manual for the Tesla Model X explains the car’s Autopilot system, including the cameras that record video of the vehicle’s surroundings.
                  Reuters found that Tesla employees shared clips that captured sensitive and embarrassing personal moments.




                  In February, Tesla recalled more than 362,000 U.S. vehicles to update their Full Self-Driving
                  software after the National Highway Traffic Safety Administration said it could allow vehicles to
                  exceed speed limits and potentially cause crashes at intersections.

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                  As with many artificial-intelligence projects, to develop Autopilot, Tesla hired data labelers to
                  identify objects in images and videos to teach the system how to respond when the vehicle was on
                  the road or parked.


                  Tesla initially outsourced data labeling to a San Francisco-based non-profit then known as
                  Samasource, people familiar with the matter told Reuters. The organization had an office in Nairobi,
                  Kenya, and specialized in offering training and employment opportunities to disadvantaged women
                  and youth.


                  In 2016, Samasource was providing about 400 workers there for Tesla, up from about an initial 20,
                  according to a person familiar with the matter.


                  By 2019, however, Tesla was no longer satisfied with the work of Samasource’s data labelers. At an
                  event called Tesla AI Day in 2021, Andrej Karpathy, then senior director of AI at Tesla, said:
                  “Unfortunately, we found very quickly that working with a third party to get data sets for something
                  this critical was just not going to cut it … Honestly the quality was not amazing.”


                  A former Tesla emp loyee said of the Samasource labelers: “They would highlight fi re hydrants as
                  pedestrians … They would miss objects all the time. Their skill level to draw boxes was very low.”


                  Samasource, now called Sama, declined to comment on its work for Tesla.


                  Tesla decided to bring data labeling in-house. “Over time, we’ve grown to more than a 1,000-person
                  data labeling (organization) that is full of professional labelers who are working very closely with the
                  engineers,” Karpathy said in his August 2021 presentation.


                  Karpathy didn’t respond to requests for comment.


                  Tesla’s own data labelers initially worked in the San Francisco Bay area, including the office in San
                  Mateo. Groups of data labelers were assigned a variety of different tasks, including labeling street
                  lane lines or emergency vehicles, ex-employees said.


                  At one point, Teslas on Autopilot were having difficulty backing out of garages and would get
                  confused when encountering shadows or objects such as garden hoses. So some data labelers were
                  asked to identify objects in videos recorded inside garages. The problem eventually was solved.


                  In interviews, two former employees said in their normal work duties they were sometimes asked to
                  view images of customers in and around their homes, including inside garages.


                  “I sometimes wondered if these people know that we're seeing that,” said one.


                  “I saw some scandalous stuff sometimes, you know, like I did see scenes of intimacy but not nudity,”
                  said another. “And there was just definitely a lot of stuff that like, I wouldn't want anybody to see
                  about my life.”


                  As an example, this person recalled seeing “embarrassing objects,” such as “certain pieces of
                  laundry, certain sexual wellness items … and just private scenes of life that we really were privy to
                  because the car was charging.”


                  MEMES IN THE SAN MATEO OFFICE


                  Tesla staffed its San Mateo office with mostly young workers, in their 20s and early 30s, who
                  brought with them a culture that prized entertaining memes and viral online content. Former
                  staffers described a free-wheeling atmosphere in chat rooms with workers exchanging jokes about
                  images they viewed while labeling.
                                                                                                                                    Feedback




                  According to several ex-employees, some labelers shared screenshots, sometimes marked up using
                  Adobe Photoshop, in private group chats on Mattermost, Tesla’s internal messaging system. There
                  they would attract responses from other workers and managers. Participants would also add their
                  own marked-up images, jokes or emojis to keep the conversation going. Some of the emojis were
                  custom-created to reference office inside jokes, several ex-employees said.


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                  One former labeler described sharing images as a way to “break the monotony.” Another described
                  how the sharing won admiration from peers.


                  “If you saw something cool that would get a reaction, you post it, right, and then later, on break,
                  people would come up to you and say, ‘Oh, I saw what you posted. That was funny,’” said this former
                  labeler. “People who got promoted to lead positions shared a lot of these funny items and gained
                  notoriety for being funny.”


                  Some of the shared content resembled memes on the internet. There were dogs, interesting cars,
                  and clips of people recorded by Tesla cameras tripping and falling. There was also disturbing
                  content, such as someone being dragged into a car seemingly against their will, said one ex-
                  employee.


                  Video clips of crashes involving Teslas were also sometimes shared in private chats on Mattermost,
                  several former employees said. Those included examples of people driving badly or collisions
                  involving people struck while riding bikes – such as the one with the child – or a motorcycle. Some
                  data labelers would rewind such clips and play them in slow motion.




                  FILE PHOTO: A camera is seen on the body of a Tesla electric vehicle (EV) during a media day for the Auto Shanghai show, April 2021. REUTERS/Aly Song




                  At times, Tesla managers would crack down on inappropriate sharing of images on public
                  Mattermost channels since they claimed the practice violated company policy. Still, screenshots and
                  memes based on them continued to circulate through private chats on the platform, several ex-
                  employees said. Workers shared them one-on-one or in small groups as recently as the middle of
                  last year.


                  One of the perks of working for Tesla as a data labeler in San Mateo was the chance to win a prize –
                  use of a company car for a day or two, according to two former employees.                                                                                           Newsletter | Daily.

                                                                                                                                                                                Technology Roundup
                  But some of the lucky winners became paranoid when driving the electric cars.                                                                           From startups to the FAANGs, get the latest
                                                                                                                                                                           news and trends in the global technology
                                                                                                                                                                                            industry.
                  “Knowing how much data those vehicles are capable of collecting definitely made folks nervous,"
                  one ex-employee said.
                                                                                                                                                                                           Sign up

                  Reported by Steve Stecklow and Waylon Cunningham in London and Hyunjoo Jin in San Francisco. Edited by Peter
                  Hirschberg.


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                      Steve Stecklow
                      Thomson Reuters
                      Pulitzer Prize-winning global investigative reporter based in London with work that has included Facebook’s failure to combat
                      hate speech in Myanmar, U.S. college admissions fraud, how Iran's Supreme Leader secretly controls a multi-billion-dollar
                      corporate empire, and sanctions busting by Chinese companies in Iran. Previously worked at The Wall Street Journal and The
                      Philadelphia Inquirer.




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